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                                      No. 23-1010

              IN THE UNITED STATES COURT OF APPEALS
                       FOR THE SEVENTH CIRCUIT
_______________________________________________________________________

UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff-Appellee,     ) Appeal from the Northern District
                                    ) of Illinois, Eastern Division
     vs.                            ) No. 18 CR 789
                                    ) Honorable Steven C. Seeger,
DENY MITROVICH,                     ) Judge Presiding.
                                    )
            Defendant-Appellant. )
_______________________________________________________________________

      MOTION FOR EXTENSION OF TIME TO FILE OPENING BRIEF
_______________________________________________________________________

       Now comes the defendant-appellant, Deny Mitrovich, by and through his

undersigned attorney, and respectfully moves this Honorable Court to extend the

time within which to file his opening brief by ninety (90) days. In support, the

following is offered:

       1.       On December 19, 2022, the District Court sentenced Mitrovich to 84

months’ incarceration. A timely notice of appeal was filed. The case was docketed in

this Court on January 4, 2023.

       2.       The undersigned was appointed to represent Mitrovich pursuant to the

Criminal Justice Act on January 13, 2023. Four days later, on January 17, 2023, this

Court set the deadline to file Mitrovich’s opening brief for February 16, 2023.

       3.       After an initial extension, the transcript information sheet was filed

with this Court on February 2, 2023. As of the filing of this motion, the undersigned

is still waiting to receive the requested transcripts that are necessary to review for
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this appeal. The transcripts are necessary to identify any and all potential issues

with the imposed denial of Mitrovich’s Motion to Dismiss or Alternatively Suppress

Evidence and, potentially, his sentence.

      4.       Additionally, the undersigned was recently hired to help with a jury trial

currently pending in the Northern District of Illinois, in the matter of United States

v. Shah, et al, Case No. 19 CR 864. The jury trial began on January 24, 2023 and is

expected to last approximately fourteen (14) weeks. Due to the scheduling of this

trial, additional time is necessary to adequately prepare the arguments that will be

raised in his appeal.

      5.       The undersigned and his associate are simultaneously working on

several other filings for pending cases in district court.

      6.       The main issue in this appeal, regarding the government’s failure to

comply with the District Court’s order compelling discovery is novel and an issue of

first impression in this Circuit, particularly as it relates to joint investigations with

foreign investigating agencies. More time is needed to prepare the opening brief

effectively and sufficiently regarding this issue.

      7.       This is the first request for an extension of time to file Mitrovich’s

opening brief.

      Wherefore, for the reasons stated above, defendant-appellant Deny Mitrovich

respectfully requests that this Honorable Court extend the deadline for filing his

opening brief by 90-days, to May 16, 2023.




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                                          Respectfully Submitted,


                                          /s/ Vadim A. Glozman




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                                    ) Honorable Steven C. Seeger,
DENY MITROVICH,                     ) Judge Presiding.
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            Defendant-Appellant. )
_______________________________________________________________________


                          CERTIFICATE OF SERVICE

      I hereby certify that on February 14, 2023, I electronically filed the foregoing

Motion for Extension of Time To File Opening Brief with the Clerk of the Court of

the United States Court of Appeals for the Seventh Circuit by using CM/ECF

system. I certify that all participants in the case are registered CM/ECF users and

that services will be accomplished by the CM/ECF system.



                                                    s/Vadim A. Glozman

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